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Plaintiff, CLERK

v. CaseNo],a"'cR-].BO

BRET NAGGS and - `
MARKWOGSLAND, g ` v ' -

Defendants. Title 18 U.S.C. § 371
Title 15 U.S.C. § 78m(b)(2),(5)
Title 15 U.S.C. § 78ff(a)
Title 18 U.S.C. § 2
Title 17 C.F.R. § 240.l3b2-2
Title 18 U.S.C. § 1349
Title 18 U.S.C. § 1348
Title 18 U.S.C. § 1343
Title 18 U.S.C. § 981(a)(1)(C)

 

INDICTMENT

 

THE GRAND JURY CHARGES THAT:

GENERAL ALLEGATIONS
At all times relevant to this Indictment, unless otherwise specified:

The Defendants. Relevant Entities & Individuals

Roadrunner Transportation Systems, lnc.
1. Roadrunner Transportation Systems, Inc. (“Roadi'unner”) was a transportation

company that offered shipping and logistics services throughout North America.

2. Roadrunner consisted of three primary operating segments: (1) Truckload
Logistics (“Truckload”), which provided pickup, delivery, freight consolidation and management
for large volume shipments; (2) Less-than-Truckload, which provided similar services for smaller

volume shipments; and (3) Global Solutions, which offered logistics services, including pricing,

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contract management, transportation mode and carrier selection, and freight tracking.4 Roadrunner
owned and operated several operating companies within the Truckload and Less-Than-Truckload
operating se gments.

3. Between May 2010 and January 2017, Roadrunner acquired more than twenty
transportation companies. Roadrunner owned and operated those companies and incorporated
their financial results into Roadrunner’s financial results.

4. From in or around 2010 to in or around March 2017, Roadrunner’s corporate
headquarters was in Cudahy, Wisconsin, Within the Eastern District of Wisconsin. As of
December 3'1, 2015 , Roadrunner had over 4,500 employees.

5 . Starting in or around May 2010, Roadrunner’s stock was traded publicly on the
New York Stock Exchange (“NYSE”), a national securities exchange, and was registered with the
l linited States Securities and Exchange Commission (“SEC”), an agency of the United States,
pursuant to Section 12(b) of the Securities Exchange Act of 1934. Roadrunner’s stock traded on
the NYSE under the ticker symbol “RRTS.”

n 6. Roadrunner’s financial statements reported $532,209,000 in quarterly revenue for
the three months ending on September 30, 2016 and $l,481,273,000 in total revenue for the first
nine months of 2016. During the same period, Roadrunner had a market capitalization of over
$300 million.

7. Roadrunner provided transportation and logistics services through its operating
companies, including Roadrunner Interrnodal Services, lnc. (“RRIS”) a group of operating
companies, including Morgan Southern, Inc. (“Morgan Southern”), a Georgia-based transportation
provider that Roadrunner acquired in or around February 2011.

The Defendants & Other Relevant Individuals
8. From in or around July 2014 through in or around October 2015, defendant BRET

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NAGGS served as Controller for Roadrunner’s Truckload segrnent. NAGGS was a licensed
Certified Public Accountant (“CPA”). As the Controller for the Truckload segment, NAGGS was
responsible for overseeing accounting and financial statements for the Truckload segment and
approving certain accounting entries in the books and records of Truckload operating companies.
ln addition, NAGGS supervised accounting and finance personnel at operating companies within
the Truckload se gment.

9. From in or around 2010 to in or around July 2014,' defendant MARK
WOGSLAND served as Controller for the Truckload segment. WOGSLAND was a licensed
CPA. As Controller for the Truckload segment, WOGSLAND was responsible for overseeing
accounting and financial statements for the Truckload segment and approving certain accounting
entries in the books and records of Truckload operating companies. In addition, WOGSLAND
supervised accounting and finance personnel at operating companies within the Truckload
segment. From in or around July 2014 to in or around December 2017 , WOGSLAND served as
Roadrunner’s Director of Accounting for the Truckload segment, and was responsible for, among
other things, consolidating financial results from various operating companies and providing
accounting guidance to Roadrunner accounting and finance employees. From in or around July
2014 through in or around October 2015, WOGSLAND reported to NAGGS.

10. Executive l was an executive who worked in a finance role at Roadrunner’s
corporate headquarters, and served on Roadrunner’s Board of Directors. From in or around July
2014 through in or around October 2015, NAGGS reported to Executive 1.

11. Executive 2 was an executive who worked in a finance role at Roadrunner’s
corporate headquarters From in or around 2010 through in or around November 2014, Executive
2 reported directly to Executive l.

12. Employee A worked in a finance role at Roadrunner’s corporate headquarters from

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in or around July 2013 through in or around September 2016.

13. Employee B worked in finance roles at RRIS in Georgia from in or around 2013
through in or around July 2016. Employee B reported to, among others, NAGGS and Employee
C, at various times throughout the scheme.

14. Employee C worked in a finance role at RRIS in Georgia from in or around
November 2014 through in or around April 2016. From in or around November 2014 through in
or around October 2015, Employee C reported to NAGGS.

Roadrunner’s Financial Regulators & Agditors

The United States Securities and Exchange Cor`nmission
15. The SEC was an independent agency of the United States government charged by

law with preserving honest and efficient markets in securities. The federal securities laws,
regulations, and rules were designed to ensure that the financial information of publicly traded
companies was accurately recorded and disclosed to the investing public. 'Securities laws, as well
as the SEC’s regulations and rules for public companies, required that Roadrunner and its directors,
officers, and employees, among other things, make and keep books, records, and accounts that
accurately and fairly reflected the transactions and disposition of the company’s assets,land
prohibited the knowing falsification of Roadrunner’s books, records, or accounts.

16. Roadrunner was also required to file annual reports (“SEC Forms 10-K”) and
quarterly reports (“SEC Forms 10-Q”) with the SEC that contained financial statements that
accurately and fairly presented the financial condition of Roadrunner, as well as other reports that
contained information about Roadrunner’s management, Board of Directors, business operations,
and performance Through these reports, Roadrunner disclosed its financial information to
Roadrunner’s shareholders, independent auditors, regulators, and the investing public. ln addition
to Roadrunner’s reports filed with the SEC, Roadrunner also disclosed its financial information to
shareholders and the investing public through press releases, earnings calls, and earnings

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announcements

Roadrunner’s Auditors

17. An auditor is an independent certified public accountant who examines the financial
statements that a company’s management has prepared. F ederal securities laws, regulations and
rules required that an independent auditor examine and report on the financial information that
Roadrunner provided to the SEC and the investing public.

18. From at least in or around 2011 and continuing through at least in or around 2017,
a known public accounting firm (“Accounting Firm A”) with offices throughout the United States
acted as the independent auditor of Roadrunner’s financial statements _

19. Accounting Firm A relied on NAGGS, WOGSLAND, Executive 1, and other
Roadrunner employees to provide truthful and accurate information about Roadrunner’s
accounting practices policies, and financial results Accounting Firm A obtained information
from NAGGS, WOGSLAND, Executive 1, and other Roadrunner employees through phone calls,
meetings emails, and file-sharing services In addition, NAGGS provided signed certifications,
attesting, among other things, that he Was not aware of “any material misstatements financial or
otherwise, which may require disclosure,” and that “all transactions [Were] properly recorded in .
accordance wi ” the relevant accounting rules

20. Based in part on the information provided by NAGGS, WGGSLAND, and
Executive 1, Accounting Firm A also offered an opinion as to whether Roadrunner’s annual
financial statements fairly presented, in all material respects, Roadrunner’s financial position.
Accounting Firm A’s opinion Was signed and filed contemporaneously With Roadrunner’s armual
SEC Form 10-K.

Roadrunner’s Publicized Earnings Metrics

21. Stock market analysts followed and reported on Roadrunner’s quarterly financial

results Specifically, in advance of each fiscal quarter, analysts provided quarterly earnings

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“guidance,” or projections of Roadrunner’s anticipated financial results These projections were
primarily calculated as anticipated earnings (or income) per publicly traded share of stock
(“eamings per share” or “EPS”). v

THE SCHEME TO DEFRAUD
Overview of the Scheme

`22. From in or around at least 2014, through in or around at least January 2017,
NAGGS, WOGSLAND, and their co-conspirators agreed to: (a) defraud Roadrunner’s
shareholders and the investing public; and, (b) mislead Roadrunner’s independent auditors and
regulators by making and causing others to make false and misleading statements about
Roadrunner’s financial condition. As described below, NAGGS, WOGSLAND, and their co-
conspirators used a combination of methods to fraudulently manipulate Roadrunner’s publicly
reported earnings and mislead Roadrunner’s shareholders independent auditors regulators and
the investing public about the true nature of Roadrunner’s financial condition.

23. Under the relevant accounting rules, Roadrunner was required to make a good faith
estimate of the likelihood that it would collect its receivables that is, the amounts owed in
connection with Roadrunner’s provision of goods or services to customers or advances to drivers
Roadrunner was required to “write'off” or set “reserves” for amounts it deemed “uncollectible.”
Thus, when a debt was old or other factors indicated the debt was unlikely to be paid, Roadrunner
was required to either write off or reserve for at least a portion of that debt.

24. Beginning as early as 2014, NAGGS, WOGSLAND, and their co-conspirators
identified misstated accounts and other accounting issues on the balance sheets of RRIS and other
operating companies Despite learning of these issues NAGGS, WOGSLAND, and their co- '
conspirators furthered the scheme to defraud by, among other things, (a) leaving assets and
receivables with little or no actual value on Roadrunner’s balance sheet, rather than writing them

off or taking appropriate reserves ; and (b) deliberately concealing these overstated assets and other

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misstated accounts from Roadrunner’s shareholders independent auditors regulators and the
investing public. ln order to further their fraudulent scheme, NAGGS, WOGSLAND, and their
co-conspirators deliberately left nearly all of these misstated accounts on Roadrunner’s balance
sheet throughout 2014, 2015, 2016, and into 2017, all While concealing the true nature of the

misstated accounts

Pu_rpose of the Scheme
25. The purpose of the scheme was for NAGGS, WOGSLAND, and their co-

conspirators to mislead Roadrunner’s shareholders independent auditors regulators and the
investing public about Roadrunner’s true financial condition in order to: (a) maintain and increase
the market price of Roadrunner’s stock; and (b) unjustly enrich NAGGS, WOGSLAND, and their

co-conspirators through the continued receipt of compensation, stock, and other benefits

NAGGS and WOGSLAND Identify and Conceal from Sl`iareholders Misstated Accounts on
_ Roadrunner’s Balance Sheet

26. Beginning in or around May 2014 WOGSLAND, Executive 1, and others
identified misstated accounts on the balance sheets of RRIS and several other operating companies
including: (i) understated customer accounts receivable with static balances; (ii) understated and
increasing liabilities for advance payments made to drivers; and, (iii) overstated accounts for
licenses and other “assets” that no longer had any actual value. lnstead of addressing the overstated -
accounts and bad debts when they were identified, as required under the relevant accounting rules
NAGGS, WOGSLAND, and their co-conspirators purposefully left the misstated accounts in
place, in order to fraudulently boost Roadrunner’s financial performance and mislead
Roadrunner’s shareholders independent auditors regulators and the investing public.

27. Specifically, in or around May 2014, Executive 1 identified issues on the RRIS
balance sheet, with potential “exposure” of nearly $4.5 million. Executive 1 directed

WOGSLAND, Executive 2, and Employee A to investigate the RRIS balance sheet,

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28. ln or around May 2014, WOGSLAND and Executive 2 traveled to RRIS to
review the RRIS balance sheet. WOGSLAND, Executive 2, and Employee B identified several
misstated accounts on the RRIS balance sheet, including:

29. Fir-st, a receivable for an outstanding customer debt of approximately $500,000,
which dated back to in or around 2012 and had been static (i.e., without activity) since spring 2013.

30. Second, accounts purportedly containing over $l.l million in assets for prepaid
taxes and licenses that, in fact, were for prior years and thus had little to no value.

3 l. Third, a large and increasing receivable related to Roadrunner’s “Lease Purchase”
program, which was a program through which drivers leased a vehicle or tractor from a third party.
Under the prograrn, to incentivize drivers many of whom had poor credit, Roadrunner agreed to
serve as guarantor on the leases and to advance certain maintenance, fuel, and other costs to
drivers ln return, Roadrunner would be reimbursed by deducting money from a driver’s pay.

32. However, by in or around April 2014, WOGSLAND, Executive l, Executive 2,
and other Roadrunner management learned that Roadrunner was advancing far more than it was
collecting, resulting in large and increasing receivables As a result, WOGSLAND, Employee A,
and another Roadrunner finance employee estimated that Roadrunner had $9.7 million in
outstanding debt from the Lease Purchase program, and estimated that $3.4 million was
“uncollectible,” at least in part because many drivers who owed Roadrunner money had left the
company, and thus were extremely unlikely to repay the funds in full.

n 33. ln or around August 2014, NAGGS (who started at Roadrunner in July 2014),
WOGSLAND, and Employee B met to discuss the misstated accounts at RRIS.

34. NAGGS, WOGSLAND, and their co-conspirators began to refer to the concerns

on the RRIS balance sheet as “unexplained variances,” which reflected the difference between the

misstated accounts on the RRIS balance sheet versus what NAGGS, WOGSLAND, and their co-

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conspirators believed should have been the correct account balance based on review of the
accounts and any supporting documentation

35. By in or around September 2014, NAGGS, WOGSLAND, and their co-
conspirators had calculated misstated accounts at RRIS totaling over $7.5 million, which, among
other things, included: (l) customer receivables (2) overstated accounts for prepaid taxes and
licenses; and (3) Lease Purchase receivables

36. NAGGS, WOGSLAND, and their co-conspirators received updates about the
misstated accounts For example, in or around September 2014, NAGGS referred to the RRlS
financial statements as a “f’d mess.” An_d, in or around November 2014, NAGGS described the
RRIS balance sheet as “a concocted mess.”

37. lnstead of writing off the misstated accounts or taking adequate reserves
WOGSLAND, NAGGS, and Executive l directed RRlS finance employees to improperly leave
these misstated accounts on Roadrunner’s balance sheet and not to make any corrective
adjustments to the vast majority of the misstated accounts until being told to do so by Executive l
or other senior management

38. ln addition to the misstated.accounts at RRIS (which included RRIS Lease Purchase
receivables), NAGGS and WOGSLAND also became aware of large Lease Purchase receivables
at other operating companies Again, despite learning that these receivables were, in most cases
increasing, and included historic debt owed by terminated drivers NAGGS and WOGSLAND
took no action to properly account for these receivables NAGGS, WOGSLAND, and their co-
conspirators also deliberately concealed from Accounting Firm A that Lease Purchase receivables
had been building and had not been properly expensed.

NAGGS. WOGSLAND, and Their Co-Conspirators Develon a Plan to Write-Off Some of the
Bad Debt Over Time in Order to Conceal the SiQnificance of the Misstated Accounts

39. By late 2014, NAGGS, WOGSLAND, and their co-conspirators developed a plan

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to write off a portion of the misstated accounts as uncollectible. However, instead of immediately
writing off the full amount, NAGGS, Executive l, and others directed RRIS finance employees to
adjust the balance sheet by a small amount each month, in order to conceal from Roadrunner’s
shareholders independent auditors regulators and the investing public the true nature and extent
of the misstated accounts

40. On or about February 9, 2015, NAGGS, WOGSLAND, and Employee C discussed
how to implement the plan described above to conceal the write-offs from Accounting Firm A. _
Employee C asked NAGGS how and Where to account for the write-off, because he “kn[e]W there
[Was] some concern about highlighting this so [he] Wanted to get [NAGGS’s] inpu .” NAGGS
replied, copying WOGSLAND, stating that he “did not Want to create a new balance sheet account
or P&L account and have it stand out for [Accounting Firm A].” lnstead, NAGGS and
WOGSLAND directed Employee C to apply the write-off to accounts that Were already known

issues in order to avoid drawing attention to the write-off.

NAGGS, WOGSLAND, and Their Co-Conspirators Abandon the Plan after Learning That
Roadrunner’s Financial Perforrnance Had Deteriorated

4l. However, in February 2015, after Roadrunner management determined that poor
financial performance at other operating companies needed “to be mitigated,” NAGGS directed
RRIS not to take the planned write-off for February and to manually reverse the write-offs it had
already taken in 2015. By abandoning the plan to take the write-offs over time, NAGGS,
WOGSLAND, and their co-conspirators falsely inflated Roadrunner’s earnings and financial
performance Other than a small write-off in on or around April 2015, NAGGS, WOGSLAND,
and their co-conspirators did not write off or materially adjust the misstated accounts until

Roadrunner announced that it would issue restated financial results

After Abandoning the Plan to Write Off a Portion of the Bad Debt, NAGGS and WOGSLAND
Continue to Conceal Misstated Accounts

42. Af°cer abandoning the plan, NAGGS, Executive 1, and other Roadrunner

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management received monthly financial reportsfrom RRIS, many of which, beginning in May
2015 , included profit and loss figures both with and without the planned monthly write-off.

43. Throughout 2015, NAGGS, WOGSLAND, and their co-conspirators also
deliberately concealed from Accounting Firm A both the misstated accounts at RRIS and the plan
to write-off only a portion of the bad debt over 2015 .

44. For example, in or around March 2015, following his discussion with NAGGS and
Employee C about concealing the write-off from Accounting Firm A, WOGSLAND instructed
Employee C to provide certain documents regarding receivables to Accounting Firm A, but
directed Employee not to send “examples” or documents that could draw attention to the misstated
accounts or other accounting issues

45 . Further, in or around May 2015 , WOGSLAND sent a spreadsheet summarizing
over $14 million in “prior balances” across Truckload operating companies the majority of which
related to the misstated accounts and Lease~ Purchase receivables

46. Despite the fact that WOGSLAND, NAGGS, and their co-conspirators were
internally tracking the misstated accounts When WOGSLAND sent the same spreadsheet of
Truckload financial results to Accounting Firm A, he omitted the “prior balances” tab in order to
conceal from Accounting Firm A that Roadrunner was tracking the misstated accounts

47 . In addition, in connection with Roadrunner’s Form lO-K and Forrn lO-Q filings
NAGGS signed certifications falsely attesting that all transactions were properly recorded in
accordance with the relevant accounting rules and, among other things that “a review of the
_collectability of receivables [had] been performed and . . . adequate” reserves existed. NAGGS
confirmed as part of the certification that he “made all appropriate investigations and reviews and
relied upon sources with a good faith basis for such reliance, which were necessary or,useful with

respect to matters for which” he did not “have direct knowledge or expertise.” NAGGS further

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confirmed that he “made inquiries of individuals who report to me and/or who have (or whom I
reasonably believe to have) knowledge of such matters.”

48. Despite lmowing that NAGGS, WOGSLAND, and their co-conspirators were
deliberately concealing the misstated accounts from Accounting Firm A, NAGGS Signed

l certifications in or around February, May, and August 2015.

49. NAGGS, WOGSLAND, and their reo-conspirators continued to receive
information about the misstated accounts and Lease Purchase receivables throughout 2015 .
Throughout 2016 and 2017, WOGSLAND continued to receive information about the misstated
accounts and Lease Purchase receivables As a result of the scheme, nearly all of the misstated
accounts remained on RRIS ’s balance sheet until Roadrunner announced restated financial results

The Victims
50. Between 2014 and January 2017, Roadrunner’s shareholders held over 37 million .

shares of Roadrunner stock,

51. On January 30, 2017, Roadrunner announced that it had identified “potential
accounting discrepancies” and “accounting errors” and that the investing public could no longer
rely upon Roadrunner’S financial statements from 2014 through the third quarter of 2016. The
trading day before the announcement, Roadrunner’s stock was trading at $ll.74 a Share. By
February l, 2017, three days after the announcement, Roadrunner’s Share price had dropped to
$7.54a share.

52. On January 31, 2018, Roadrunner announced restated financial results The trading
day before the announcement, Roadrunner’s stock was trading at $7.14 a share. By February 2,

2018, three days after the announcement, Roadrunner’s stock price had dropped to $4.90 a share.

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COUNT 1

(18 U.S.C. § 371 - Conspiracy to Make False Statements to a Public Company’s
Accountants, and to Falsify Books, Records, and Accounts of a Public Company)

_ 53. Paragraphs l through 52 of this Indictrnent are realleged and incorporated by
reference as though fully set forth herein.
54. From at least in or around 2014 through at least in or around January 2017, in the
Eastem District of Wisconsin and elsewhere, defendants
BRET NAGGS
and
MARK WOGSLAND
did willfully, that is with the intent to further the objects of the conspiracy, and knowingly
combine, conspire, and agree with other individuals known and unknown, to commit certain
offenses against the United States, namely:

a. to knowingly and willfully, directly and indirectly take action to coerce,
manipulate, mislead, and fraudulently influence Accounting F irm A knowing that such action, if
successful, could result in rendering Roadrunner’s financial statements materially misleading,
while Accounting Firm A was engaged in performing reviews and audits of Roadrunner’s financial
statements and preparation of Roadrunner’s quarterly and annual reports required to be filed with
the SEC, in violation of Title 15, United States Code, Section 78ff, and Title 17, Code of Federal
Regulations, Section 240.l3b2-2(b); and,

b. to knowingly and willfully falsify, and cause to be falsified, books, records
and accounts required to, in reasonable detail, accurately and_ fairly reflect the transactions and
dispositions of Roadrunner, in violation of Title 15, United States Code, Sections 78m(b)(2),
78m(b)(5), and 78ff.

hirpose of the Conspiracv

55. The Grand Jury realleges and incorporates by reference paragraph 25 of this

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lndictment as a description of the purpose of the conspiracy.

Manner an<_l Means of tile ConsDiracv

56. In furtherance of this conspiracy, and to accomplish its object, the methods .
manner, and means that were used are described in paragraphs 22 through 52 of this lndictment
and are realleged and incorporated by reference as though fully set forth herein.

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In furtherance of the conspiracy and to achieve its objects and purpose, at least one of the
co-conspirators committed and caused to be committed, in the Eastem District of Wisconsin,, and
elsewhere, the following overt acts among others:

57. On or about April 24, 2014, WOGSLAND sent a spreadsheet with the RRIS
reserves for bad debt to Employee B and other Roadrunner finance employees stating this is “NOT
the reserve analysis that l am going to use for the auditors” and noting the calculation showed that
RRIS was significantly under reserved.

58. On or about April 24, 2014, WOGSLAND sent another version of the RRIS reserve
calculations to Employee B and other Roadrunner finance employees showing RRIS was over
reserved WOGSLAND stated this was the calculation he would “give to the auditors” while also
admitting that the RRIS bad debt reserve was “at least $200,000 too low.”

59. On or about April 24, 2014, WOGSLAND sent Accounting Firm A the bad debt
reserve calculations for RRIS, falsely showing that RRIS was over reserved.

60. On or about January l9, 2015, WOGSLAND sent Accounting Firm A a
spreadsheet of RRIS accounts receivable as of December 3l, 2014 that omitted an account that
WOGSLAND and NAGGS had identified as misstated as early as 2014,

61. Between on or about February 7, 2015 and on or about February 9, 2015 ,
WOGSLAND, NAGGS, and Employee C discussed the plan to write off a portion of the misstated

accounts over 2015 and how to conceal the plan to write off the misstated accounts from

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Accounting Firm A by taking the write-offs from certain accounts

62. On or about February 25, 2015, in connection with the preparation of Roadrunner’s
Form lO-K for 2014, NAGGS signed a certification attesting that all transactions were properly
recorded in accordance with the relevant accounting rules and confirming that NAGGS had “made
all appropriate investigations and reviews” necessary to completing the certification

63. On or about February 25, 2015, the certification signed by NAGGS was provided
to Accounting F irm A.

64. On or about May 4, 2015, in connection with the preparation of Roadrunner’s Form
lO-Q for the First Quarter of 2015, NAGGS signed a certification attesting that all transactions
were properly recorded in accordance with the relevant accounting rules and confirming that
NAGGS had “made all appropriate investigations and reviews” necessary to completing the
certification

65. On or about May 13, 2015, WOGSLAND sent a Roadrunner finance employee a
spreadsheet of financial results for Truckload operating companies which contained a tab
summarizing over 814 million in “prior balances,” the majority of which was attributable to the
misstated accounts and Lease Purchase receivables

66. On or about July 21, 2015, WOGSLAND emailed two Roadrunner employees
regarding the financial statements of an operating company, directing one of them, in the filture,
to “not include [Roadrunner’s lntemal Audit Manager] on an email like this He is an auditor.”

67. On or about August 3, 2015, in connection with the preparation of Roadrunner’s v
Form lO-Q for the Second Quarter of 2015 , NAGGS signed a certification attesting that all
transactions Were properly recorded in accordance with the relevant accounting rules and `
confirming that NAGGS had “made all appropriate investigations and reviews” necessary to

completing the certification

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68. On or about October 9, 2015, after conferring with Executive l about Roadrurmer’s
financial performance, NAGGS told Employee C via email “don’t book” the planned write-off on
the RRIS balance sheet.

69. On or about January 26, 2016, WOGSLAND sent a Roadrunner finance employee
a spreadsheet of financial results for Truckload operating companies which again contained a tab
summarizing over $lZ.8 million in “prior balances,” the majority of which was attributable to the
misstated accounts and Lease Purchase receivables

70. On or about January 26, 2016, WOGSLAND sent Accounting Firm A the same
spreadsheet of Truckload financial results but WOGSLAND did not include the “prior balances”
tab that tracked the misstated accounts and Lease Purchase receivables among other items

All in violation of Title 18, United States Code, Section 37l.

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COUNT 2
(18 U.S.C. § 1349 - Conspiracy to Commit Securities Fraud & Wire Fraud)
7l. Paragraphs l through 52 of this lndictrnent are realleged and incorporated by
reference as though fully setlforth herein
72. From at least in or around 2014 through at least in or around January 2017, in the
Eastem District of Wisconsin and elsewhere, defendants
BRET NAGGS

and
MARK WOGSLAND

did knowingly and intentionally, that is with the intent to advance the conspiracy, combine,
conspire, and agree with other individuals known and unlmown, to commit certain offenses against
the United States, namely:

a. securities f`raud,,that is to knowingly and willfully executea scheme and
artifice (a) to defraud any person in connection with any security of Roadrurmer, an issuer with a
class of securities registered under Section 12 of the Securities Exchange Act of 1934 (15 U.S.C.
§ 781), and (b) to obtain, by means of materially false and fraudulent pretenses representations
and promises and by statements containing material omissions any money and property in
connection with the purchase and sale of any-security of Roadrunner, an issuer with a class of
securities registered under Section 12 of the Securities Exchange Act of 1934 (15 U.S.C. § 781),
to wit, NAGGS, WOGSLAND, and their co-conspirators made, and caused to be made, false and
misleading representations to Roadrunner’s shareholders and members of the investing public
about Roadrunner’s true financial condition, in violation of Title 18, United States Code, Section
1348; and

k b. wire f`raud, that is to knowingly and willfully, and with the intent to defraud,

having devised and intending to devise a scheme and artifice to defraud, and to obtain money and

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property by means of materially false and fraudulent pretenses representations and promises
knowing such pretenses representations and promises were false and fraudulent when made,
transmit and cause to be transmitted, by means of wire communications in interstate and foreign
commerce, writings signs signals pictures and sounds for the purposes of executing such
scheme and aitifice, in violation of Title 18, United States Code, Section 1343.

Purpose of the Conspiracy

73. . The Grand Jury realleges and incorporates by reference paragraph 25 of this
lndictrnent as a description of the purpose of the conspiracy.

Manner and Means of t__he Conspiracy

74. ln furtherance of this conspiracy, and to accomplish its object, the methods
manner, and means that were used are described in paragraphs 22 through 52 of this lndictinent
and are realleged and incorporated by reference as though fully set forth herein

All in violation of Title 18, United States Code, Section 1349.

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COUNTS 3 - 5
(18 U.S.C. §§ 1348 and 2 - Securities Fraud)

75. Paragraphs l through 52 of this Indictment are realleged and incorporated by
reference as though fully set forth herein

Purpose of the Scheme and Art_if`ice to Defraud
76. _The Grand Jury realleges and incorporates by reference paragraph 25 of this

lndictrnent as a description of the purpose of the scheme and artifice.

The Scheme and Art_ifice to Defraud
77. The Grand Jury realleges and incorporates by reference paragraphs 22 through 52

of this lndictment as a description of the scheme and artifice.
78. From at least in or around 2014 through at least in or around January 2017, in the
Eastem District of Wisconsin and elsewhere, defendants v
BRET NAGGS
and

MARK WOGSLAND
aided and abetted by others known and unknown to the Grand Jury, did knowingly and
intentionally execute a scheme and artifice (a) to defraud any person in connection with any
security of Roadrunner, an issuer with a class of securities registered under Section 12 of the
Securities Exchange Act of 1934 (15 U.S.C. § 781), and (b) to obtain, by means of materially
false and fraudulent pretenses representations and promises and by statements containing
material omissions any money and property in connection with the purchase and sale of any
security of Roadrunner, an issuer with a class of securities registered under Section 12 of the
Securities Exchange Act of `l 934 (15 U.S.C. § 781), to wit, NAGGS and WOGSLAND made,

and caused to be made, false and misleading representations to Roadrunner’s shareholders about

Roadrunner’s true financial condition

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Count Defendant Approximate Date Description
3 MNV;§§§LAND & March 2’ 2015 §(I)EICLJ1 Form 10-K for Year-ended
q 4 YER;(NV;§§§LAND & May 5’ 2015 §(l)il(; Form lO-Q for First Quarter
5 MNVX(G)§§LAND & August 3’ 2015 §(l)£l(; Form lO-Q for Second Quarter

 

 

 

 

 

All in violation of Title 18, United States Code, Sections 1348 and 2.

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CoUNTs 6 - 9
(18 U.s.C. §§ 1343 and 2 - wire Fraud)

79. Paragraphs 1 through 52 of this Indictrnent are realleged and incorporated by

reference as though fully set forth herein

Purpose of the Scheme and Artifice to Defraud
80. The Grand Jury realleges and incorporates by reference paragraph 25 of this

Indictment as a description of the purpose of the scheme and artifice._

The Scheme and Artifice to Defraud
81. The Grand Jury realleges and incorporates by reference paragraphs 22 through 52

of this lndictrnent as though fully set forth herein as a description of the scheme and artifice

Use of the Wires
82. On or about the dates specified as to each count below, and as to the defendant(s)

specified below, for the purpose of executing the aforesaid scheme and artifice to defraud, did
knowingly transmit and cause to be transmitted, by means of wire communications in interstate

and foreign commerce,' certain writings signs signals pictures and sounds as more particularly

 

 

 

 

 

 

 

 

described below:

Count Defendant App;)o;;mate Description of Interstate Wire
MARK Email from WOGSLAND routed through -
WOGSLAND January 19, Roadrunner’s servers in Wisconsin to Accounting
& BRET 2015 Firm A in Minnesota regarding summary of accounts
NAGGS receivable
MARK , Emaii from NAGGS and woGsLANi) routed
WOGSLAND February 9, through Roadrunner’s servers in Wisconsin to
& BRET 2015 Employee C in Georgia regarding writing off
NAGGS misstated accounts
MARK Email from NAGGS routed through Roadrunner’s
WOGSLAND October 9, servers in Wisconsin to Employee C in Georgia
& BRET 2015 directing him not to book the balance sheet cleanup
NAGGS for the month. '

 

 

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Count Defendant App;);l:mte Description of Interstate Wire
Email from WOGSLAND routed through
9 MARK January 26, Roadrunner’s servers in Wisconsin to Accounting
WOGSLAND 2016 Firm A in Minnesota regarding Truckload segment
results

 

 

 

 

All in violation of Title 18, United States Code, Sections 1343 and 2.

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FoRFEITURE ALLEGATioN
(18 U.s.c. § 981(a)(l)(C))

83. The allegations of this Indictment are re-alleged and incorporated by reference as
though frilly set forth herein for the purpose of alleging forfeiture to the United States of certain
property in which the defendants BRET NAGGS and MARK WOGSLAND, have an interest

84. Upon conviction of a violation of Title 18,.United States Code, Section 371, and/or
a violation of, or a conspiracy to violate, Title 18, United States Code, Sections including 1343,
1348, 1349, and, Title 15, United States Code, Section 78ff and, Title l7, Code of Federal
Regulations Pa.rt 240.l3b2-2, as alleged in this lndictment, the defendants so convicted shall
forfeit to the United States pursuant to Title 18,-United States Code, Section 981(a)(l)(C) and Title
28', United States Code, Section 2461 , all property, real or personal, which constitutes or is derived
from proceeds traceable to the commission of such violation f

Substitute Assets

85. If any of the above described forfeitable property, as a result of any act or omission

of the defendants

a. cannot be located upon the exercise of due diligence;

b. has been transferred or sold to, or deposited with, a third party;

c. has been placed beyond the jurisdiction of the Court;

d. has been substantially diminished in value;

e. or has been commingled with other property which cannot be subdivided without

difficulty;

it is the intent of the United States pursuant to Title 21, United States Code, Section 853(p), made
applicable by Title 28, United States Code, Section 246l(c), to seek forfeiture of any other property
of said defendant up to the value of the above forfeitable property.

86. All pursuant to Title 18, United States Code, Section 981(a)(l)(C) and the

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provisions of Title 21, United States Code, Section 853, made applicable by Title 28, United States

Code, Section 246l(c).

 

 

M

MATTHEW D. K'RUQGER
United States Attomey

SANDRA L. MOSER

Acting Chief

Criminal Division, Fraud Section
United States Depa.rtment of Justice

W@§Z_

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Trial Attomeys

Criminal Division, Fraud Section
United States Departrnent of Justice

Dated: June Q,*2018

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